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           Exhibit B
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                          Asset                                            Description                                Value

Liquidated Assets
      Cash                                    Cash located at 1124 Blalock Rd                                             $53,346
      Cash in Safe                            Recovered from two safes at Blalock Rd                                     $392,765
      First Community Credit Union            Closed Benvenuto bank account                                              $407,042
      First Community Credit Union            Closed Benvenuto bank account                                               $44,406
      Bank of America                         Closed Benvenuto bank account                                               $16,825
      Bank of America                         Closed Benvenuto bank account                                                $4,500
      Simmons Bank                            Closed Benvenuto bank account                                               $80,764
      Simmons Bank                            Closed CBT bank account                                                    $247,916
      Regions Bank                            Closed Chavez bank account                                                     $782
      Coinbase, Inc.                          Proceeds from liquidation of crypto account                                $982,924
      Blockchain.com                          Proceeds from liquidation of crypto account                              $1,161,141
      Burford Perry LLC                       Balance of retainer                                                        $155,631
      Gerger Hennessy & Martin LLP            Balance of retainer                                                        $214,488
      Jones Walker Retainer                   Turned over to Receiver                                                    $102,229
      Televisions                             Located at 1124 Blalock                                                      $3,040
      Pratt & Flack LLP                       Cash turned over to the Receiver by Chavez                                  $55,000
      Hogan Lane, Hempstead TX                Net sale proceeds from sale of real property                                $64,758
      Exodus Wallet                           BTC, Tether & Solana. Liquidated in April 2023.                             $86,915
      28 Lawrence Marshall Dr, Hemptstead, TX Sale closed in April 2023.                                                  $65,027
      2020 Volkswagen Tiguan                  Turned over to Receiver by Angelica Vargas and liquidated                   $16,695
      2021 Mercedes-Benz GLE AMG              Turned over to Receiver by Mauricio Chavez and liquidated                   $63,568
      Chavez's personal property              Net auction proceeds                                                         $9,267
      Mack Washington, Hempstead, TX          CBT purchased for $2.05 million. Net sale proceeds from closing          $1,027,280

Total Liquidated Assets                                                                                                $5,256,308

Unliquidated Assets

   Benvenuto Holdings Bank Accounts
      First Community Credit Union             Benvenuto Holdings frozen account                                         $109,077
      First Community Credit Union             Benvenuto Holdings frozen account                                           $1,625

   Vehicles & Personal Property
      2022 BMW X6 M501                         Netted $74,000 from sale. Payment pending.                                 $74,000
      CFX furniture and fixtures               Removed from 1124 Blalock to be sold                                        $2,000
      Computers                                At Receiver's office. Will be preserved                                     $5,000

   Janette Gonzalez and related entities
                                               JJ Trust via Luxury Real Estate LLC                                       $750,000
                                               Aspire Living LLC via Gonzalez                                            $607,700
                                               The JCA Trust via JM Monarchy                                             $400,000
                                               JM Monarchy LLC via Chavez                                                $478,700
      Regions Bank Account                     Frozen bank accounts - Luxury Real Estate & Hair News Color                $61,045
      2021 Lexus ES350 F Sport                 Transferred to JM Monarchy.                                                $30,000
      Other Transfers                          Receiver Determining                                                          TBD

   Angelica Vargas
                                              Purchased with investor funds                                              $630,000
      2021 Mercedes-Benz GLS                  Purchased for $114,015.21                                                    $75,000
      Cash and other payments from Defendants Deposits into Chase Bank account.                                          $433,233
      Crypto Transfers                        Over $11 million in/out of crypto account                         Finalizing Number




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                          Asset                                   Description                            Value
   Causes of Action
      Transfers to Leaders            Motion pending for turnover of Google Drive to determine amounts     Unknown
      PLS Check Cashers               $4,784,618 in money orders purchased. (est 20% recovery)             $960,000
      Ebenezer   Construction
       Receiver Investigatng          Payments for work not performed                                      $950,249
      Gabriel Torres                  Owner of Ebenezer Construction and Investor                          Unknown
      Gustavo  Gomez
       Recoveries Redacted            Transfer of cryptocurrency                                           $500,000
      Julio Taffinder                 Payments to son of Eduardo Taffinder                                 $149,500
      Hanna Gabriela Salido           Payments to daughter of Eduardo Taffinder                            $137,500

Total Unliquidated Assets                                                                                 $6,354,629

Liquidated Plus Unliquidated Assets                                                                      $11,610,937




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